8:06-cr-00019-LSC-FG3         Doc # 224    Filed: 03/03/11    Page 1 of 2 - Page ID # 665




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:06CR19
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                MEMORANDUM
                                             )                 AND ORDER
JUAN VARGAS,                                 )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s notice of appeal (Filing No. 220),

the Clerk’s memorandum regarding the untimeliness of the notice (Filing No. 221) and in

forma pauperis status (Filing No. 222).

       On November 8, 2006, the Court entered Judgment and sentenced the Defendant

to 120 months imprisonment to be served concurrent with a sentence imposed in case

number 8:05CR242 (Filing No. 149). On January 31, 2011, the Defendant filed his notice

of appeal (Filing No. 220).

       Federal Appellate Rule fo Procedure 4(b)(1)(A)(i) provides that, under the

circumstances presented in this case, a criminal defendant’s notice of appeal must be filed

within 14 days of the entry of the judgment or order being appealed. Federal Appellate

Rule of Procedure 4(b)(4) provides that the 14-day period may be extended by 30 days

upon a finding of excusable neglect or good cause.

       In this case, the notice of appeal is untimely. The Defendant has not shown

excusable neglect or good cause. Accordingly, the Defendant will not be permitted to

proceed in forma pauperis on appeal.
8:06-cr-00019-LSC-FG3     Doc # 224     Filed: 03/03/11    Page 2 of 2 - Page ID # 666




     IT IS ORDERED:

     1.    The Defendant’s notice of appeal (Filing No. 220) is untimely;

     2.    The Defendant may not proceed in forma pauperis on appeal; and

     3.    The Clerk is directed to mail a copy of this order to the Defendant at his last

           known address.

     DATED this 3rd day of March, 2011.


                                       BY THE COURT:


                                       s/Laurie Smith Camp
                                       United States District Judge




                                          2
